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                                  9   Counsel for the Board of Each of PG&E Corporation
                                      and Pacific Gas and Electric Company and for
                                 10   Certain Current and Former Independent Directors

                                 11                          UNITED STATES BANKRUPTCY COURT
Simpson Thacher & Bartlett LLP




                                                             NORTHERN DISTRICT OF CALIFORNIA
                                 12
                                                                  SAN FRANCISCO DIVISION
     New York, NY 10017
      425 Lexington Ave




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                                 14                                                  Bankruptcy Case
                                      In re:                                         No. 19-30088 (DM)
                                 15
                                                                                     Chapter 11
                                      PG&E CORPORATION,
                                 16
                                                                                     (Lead Case)
                                 17            - and –
                                                                                     (Jointly Administered)
                                 18   PACIFIC GAS AND ELECTRIC
                                      COMPANY,                                       CERTIFICATE OF NO OBJECTION
                                 19                                                  REGARDING TWELFTH MONTHLY FEE
                                                                                     STATEMENT OF SIMPSON THACHER &
                                                                  Debtors.           BARTLETT LLP FOR ALLOWANCE AND
                                 20
                                                                                     PAYMENT OF COMPENSATION AND
                                 21    Affects PG&E Corporation                     REIMBURSEMENT OF EXPENSES FOR
                                       Affects Pacific Gas and Electric Company     THE PERIOD OF MARCH 1, 2020
                                 22    Affects both Debtors                         THROUGH MARCH 31, 2020

                                 23                                                    Re: Docket No. 7655
                                      * All papers shall be filed in the Lead Case No.
                                 24   19-30088 (DM).                                   Objection Deadline: June 19, 2020
                                                                                                           4:00 pm (Pacific Time)
                                 25

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                                      Case: 19-30088     Doc# 8069     Filed: 06/22/20    Entered: 06/22/20 16:44:44     Page 1 of
                                                                                   3
                                  1           On May 29, 2020, Simpson Thacher & Bartlett LLP (“Simpson Thacher”), counsel for

                                  2   (i) the Board of Directors (the “Board”) of each of PG&E Corporation and Pacific Gas and

                                  3   Electric Company (the “Debtors”), as the Board may be constituted from time to time, and for

                                  4   the members of the Board from time to time in their capacities as members of the Board, and (ii)

                                  5   certain current and former independent directors in their individual capacities who serve or

                                  6   served as independent directors prior to and/or as of the Petition Date (as defined below) (each

                                  7   an “Independent Director” and collectively, the “Independent Directors”), filed its Twelfth

                                  8   Monthly Fee Statement of Simpson Thacher & Bartlett LLP for Allowance and Payment of

                                  9   Compensation and Reimbursement of Expenses for the Period March 1, 2020 through March 31,

                                 10   2020 (the “Twelfth Monthly Fee Statement”) pursuant to the Order Pursuant to 11 U.S.C.

                                 11   §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for Authority to Establish Procedures for Interim
Simpson Thacher & Bartlett LLP




                                 12   Compensation and Reimbursement of Expenses of Professionals, dated February 27, 2019

                                      [Docket No. 701] (the “Interim Procedures Order”).
     New York, NY 10017




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      425 Lexington Ave




                                 14           The Twelfth Monthly Fee Statement was served as described in the Certificate of Service

                                 15   of Andrew G. Vignali [Docket No. 7786]. The deadline to file responses or oppositions to the

                                 16   Twelfth Monthly Fee Statement was June 19, 2020 at 4:00 pm (PT). No oppositions or

                                 17   responses have been filed with the Court or received by Simpson Thacher. Pursuant to the

                                 18   Interim Compensation Order, the Debtors are authorized to pay Simpson Thacher eighty percent

                                 19   (80%) of the fees that are not subject to an objection and one hundred percent (100%) of the

                                 20   expenses requested in the Twelfth Monthly Fee Statement upon the filing of this certification

                                 21   without the need for a further order of the Court. A summary of the fees and expenses sought by

                                 22   Simpson Thacher is annexed hereto as Exhibit A.

                                 23           The undersigned hereby declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury,

                                 24   that:

                                 25                  1.     I am a counsel at the law firm Simpson Thacher & Bartlett LLP, counsel

                                 26   to the Board and the Independent Directors.

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                                                                                     3
                                  1                 2.      I certify that I have reviewed or caused the review of the Court’s docket in

                                  2   these chapter 11 cases and that Simpson Thacher has not received any response or opposition to

                                  3   the Twelfth Monthly Fee Statement.

                                  4                 3.      This declaration was executed in Palo Alto, California.

                                  5

                                  6
                                                                                       SIMPSON THACHER & BARTLETT LLP
                                  7
                                       Dated: June 22, 2020                            /s/ Jonathan C. Sanders
                                  8
                                              Palo Alto, California                    Jonathan C. Sanders (No. 228785)
                                  9
                                                                                       Counsel for the Board of Each of PG&E
                                 10                                                    Corporation and Pacific Gas and Electric
                                                                                       Company and for Certain Current and
                                 11                                                    Former Independent Directors
Simpson Thacher & Bartlett LLP




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     New York, NY 10017




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